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     FILED & JUDGMENT ENTERED
               Steven T. Salata




           December 13 2018


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                          _____________________________
                                                                                    Laura T. Beyer
                                                                            United States Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

 In re:

 VR KING CONSTRUCTION, LLC,                                 Case No.: 18-31635

    Debtor.
                                                            Chapter 11


 ORDER ON MOTION OF THE DEBTORS-IN-POSSESSION FOR SUBSTANTIVE
CONSOLIDATION OF THE ABOVE-CAPTIONED CHAPTER 11 CASES PURSUANT
           TO SECTION 105(A) OF THE BANKRUPTCY CODE

          This cause came before the Court on November 30, 2018, upon that certain motion

entitled Motion of the Debtors-In-Possession for Substantive Consolidation of the Above-

Captioned Chapter 11 Cases Pursuant to Section 105(A) of the Bankruptcy Code (the “Motion”)

filed by the above-captioned debtors and debtors in possession VR King Construction, LLC

(“King”), VR Investments, LLC (“VR”) and Baranko Enterprise, Inc. (“Baranko” and together

with King and VR, the “Debtors”). Appearing at the November 28, 2018 hearing held for the

Debtors was John C. Woodman, for the principal of the Debtors Vinroy Reid was R. Keith
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Johnson and for the Office of the Bankruptcy Administrator for the Western District of North

Carolina, Shelley Abel. Due notice of the Motion was provided to the necessary parties in

interest.    Based upon a review of the record, the contents of the Motion, no objections filed

thereto, and statements of Counsel, the Court finds and concludes as follows:

        1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue of these cases and this Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory

predicate for the relief requested herein is Section 105(a) of the Bankruptcy Code.

        2.     On October 31, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in this Court.            The Debtors continue in

possession of their properties and the management of their business as debtors in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code.

        3.     The sole owner of each of the Debtors is Vinroy Reid.

        4.     Vinroy Reid filed for bankruptcy relief under chapter 13 of the Bankruptcy Code in

the United States Bankruptcy Court for the Western District of North Carolina. See Bankr.

W.D.N.C. Case No. 18-31436.

        5.     The Debtor asserts that substantive consolidation is warranted as (i) VR, King and

Baranko have no clear division between each other, (ii) the creditors scheduled were vastly

identical for the Debtors, (iii) the affairs of the Debtors are entangled, (iv) there appears to be a

lack of books and records pre-petition for the Debtors, and (v) the Debtors otherwise failed to

respect corporate formalities in their daily operations.

        6.     The Debtors anticipate that the creditors who might file proofs of claim in the

chapter 11 cases will be identical.
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        7.    In the litigation involving the Debtors and Y2 Yoga Cotswold, LLC (Meck. Co.

Case No. 16-CVS-23179), the Debtors stipulated to joint and severally liability for any liability

rendered by the jury’s verdict. Attached to the Motion as Exhibit A was that certain Vinroy W.

Reid’s, VR King Construction, LL’s, VR Investments, LLC’s, Baranko Enterprise, Inc.’s

Stipulation of Joint and Several Liability, if any.

        8.    A proposed plan of reorganization for the Debtors likely contemplates the merging

of each and every asset and liability of the Debtors such that: (i) all assets and liabilities of the

Debtors shall be merged, (ii) no distributions shall be made under the Plan on account of

intercompany claims among the Debtors, and (iii) all obligations of the Debtors including any

joint and several liability shall be deemed to be one obligation owed by the Debtors.

        9.    Based upon the foregoing and no objections being filed to the Motion, the

substantive consolidation is warranted.

        10.    “Substantive consolidation usually results in, inter alia, pooling the assets of, and

claims against, the two entities; satisfying liabilities from the resultant common fund; eliminating

inter-company claims; and combining the creditors of the two companies for the purposes of

voting on reorganization plans.” In re Augie/Restivo Baking Co., Ltd., 860 F.2d 515, 518 (2d

Cir. 1988).

        11.   Certain factors used when determining whether the equities of a particular fact

pattern warrant the substantive consolidation of multiple entities in bankruptcy are as follows:

(1) the presence or absence of consolidated financial statements; (2) the unity of interest of and

ownership between various corporate entities; (3) the existence of parent and intercorporate

guarantees on loans; (4) the degree of difficulty in segregating and ascertaining individual assets

and liabilities; (5) the existence of transfers of assets without formal observance of corporate
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formalities; (6) the commingling of assets; and (7) the profitability of consolidation at a single

physical location. See In re Orfa Corporation of Philadelphia, 129 B.R. 404, 414–15 (Bankr.

E.D.Pa. 1991).

          12.   The equitable balancing of the facts of these cases, guided by the above factors,

weighs in favor of substantive consolidation.

          13.   The notice of the Motion and hearing thereon was adequate and reasonable under

the circumstances of this case.

          14.   Entry of this Order is in the best interests of all affected parties and is appropriate

in these cases.

          THEREFORE, IT IS ORDERED, ADJUDGED and DECREED that:

          1.      The Motion is GRANTED;

          2.      The above-captioned chapter 11 cases are hereby substantive consolidated;

          3.      VR KING CONSTRUCTION, LLC, Case No. 18-31635 shall be the remaining

case and all filings associated with the consolidated Debtor shall read as follows:

                         UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

 In re:

 VR KING CONSTRUCTION, LLC,1                               Case No.: 18-31635

    Debtor.                                                Chapter 11

          1 This matter has been substantive consolidated with the following chapter 11 Debtors: VR
          Investments, LLC and Baranko Enterprise, Inc.

          4.      The Debtor shall serve a copy of this Order electronically, facsimile or by first

class mail to the creditor’s matrix for the consolidated case.
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       5.      This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.



  This Order has been signed electronically.                       United States Bankruptcy Court
  The Judge's signature and Court's seal
  appear at the top of this Order.
